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*** REQ'[IESTOR: 1106000 - CEN'I'URY_CI CEN'I`UR.Y C.I. CLASSIFICA.TION **'*
******#**1**********************************i**e*************j******************
*** SYSM AUTOMATIC PRINT ***
MIESSAGE ID: 640592A DATE: 03/02/15 TIM`E: 04:22pm PRIOR.I'I'Y: 000

TO: IlOGODO -~ CENTURY___CI

CLASSIFICATION DEPARTM`ENT
CENTURY C.I- CLASSIFICATION

FROM: DPOPDTL - NEEL, STEPHAN'IE W.
COR.`R. SERVICES CONSULTANT
CLASS-POP MGM'I'

SUBJECT: Reply to medical transfer req

*** sent by Alternate User "DPonwl" for "DPOPDTL“ ***
;;**Mgrig;nal Anthor= szocMN - NoBLES, CHRJSTINE MHi q§¢qz¢;5W33:49pm
Hs coNTRACTDR-coRIzoN; C.F.R.C. MAIN

THIS DOCUMENT MAY CONTAIN CONFIDENTIAL HEALTH R.ECORD/CAR.`E
INFORMA'I'ION INTENDED FOR THE ADDRESSEE ONLY- UNAUTHORIZED
RELEASE OR, DISCLOSURE MAY VIOLATE STATE AND FEDER.A'L LAW.

{ } Intra-Region ( X ) Infer-Region
TRANSFER RBQUEST FOR: ( ) emergency ( x ) urgent ( ) Routine

Inmate Name= JoYcE HANUMAN Ksssav
From; BAPTIST HosP (CEN'I'URY cI)
'ro= mac HosPITAL
A] REAsoN _FoR mNSFER= ( ) r-m/MEDI¢:AL RETURN t ) SN/sPEcIAL NEEDS
( ) Ds/DENTAL svcs. ( ) MP/mi-PSY.UNSUITABLE { x ) Ms/MEDICAL servic
( ) RH{REG. HosP. ( } wC/WHEELCHAIR NEEDS
( ) MU/MED.UNSUITABLE( ) MM/MH sos cELL

CLINIC'AL R.A'I'IONALE: INMATE REQUIRES HOSP CARE

B) TIM'E PRIORITY IN EFFECI‘ING TRANSFER: 3/2/15

C) SPECIAL CONSIDERATIONS: PLEASE SEND ALL RECORDS

D) LOSING CHIEF I-'[EALTH OFFICER HAS COORDINATED THE CONTINUITY OF
CAR.E WITH GAINING CHIEF HEALTH OFFICER. ( )YES ( )NO

E) ADDITIONAL INFORI‘RTION: MAY TRANSPOR.T VIA DOC VA'N DIRECTLY FROM BAPTI
ST HOSPITAL TO R.MC HOSPITA LAICE BUTLER

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F) CLASSIFICATION USE ONL`Y:

 

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CLASSIFICATION RECOMMENDATION/COMMENTS:

*** Comments From: DPOPDTL - NEEL,

sTEPI-LANIE w.; 03/02/15 04=1apm

CORR SERVICES CONSULTANT; CLASS-POP MGMT

ATI'N: CLASSIFICATION SUPERVISORl
cEN'I'uRY cJ:-'r / RMC~T

THIS IS YOUR AUTHORITY TO TRANSFER THE ABOVE INMUTE FROM BAPTIST

HOSPITAL»(CENTURY CI) TO RMC FOR MEDICAL SERVICES.

CENTURY CI IS TO COORDINATE TIME OF ARRIVBL AND TRANSPORT ON TODAY,

03/02/2015.

Page 2 of 3

NOFE**FCEMUR¥.§LNLLL.Q;RANSPORT mmer DIRECr FRoM BAP'I‘ISJ: ,HQSP,I'.L_A;._¢,,;L.,_,..__‘.,M,___W_».
vIA nc-NAN To mac FoR GAIN c)F cUsToDY. HANI)LE AND HoUsE:

ACCORDINGLY.

VERNA WATKINS

Sent tO: H320CMN
HlD€OOO
1106000
H209000
1209000
DPOPVWl
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NOBLES, czmIsTINE M.
cENTURY c.I.--HEALTH
CENTURY_<:I

R.M.C. (MAIN UNIT)
RECEPTION_MEDICAL cENTER
wATKINs, vERNA

HEALTH sERVIcEs-~REGION 1
sECURITY (106}
cE:NTURY_C.I. wARDEN

G.RAY, ALISHA M.
RECEPTION_MEDICAL_CENTER-T&R
GREEN, zEPHRIN D.

SECURITY (209)
I-IEALTH_SERVICES--REGION 11

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State of Florida

Dcpa:rtmcnt of Corrections

Transfer Order

Date: MARCH 2, 2015

The below listed inmate(s) is being transferred:

 

FROM: Century Correctional Inst:itution TO:
ammon)
together with all records and property.
NAME DC# RACE/SEX

RMC

 

(Institution)

REASON MOVEL[ENT CODE
CODE

 

 

 

 

 

JoYcE, HANUMAN "'“““”“"“’-‘¢*-”'“"Kssssr'”“"* B/M Ms ' “"*"-‘ "“QU-‘“"*W=“=‘"“f"“"
Local Requmt/Review By: ME`.DICAL
(circle request or review) (Wardm, Duty Warden, Classification, Medical, ecL)
Transfer Authorized by: TWX: 640592A
(TWX: E-Mail message from Cend‘al OfEce; Medical; Duty Officer,
etc.)

Transporting Offioer:

(signature) (date)
Receiving OEEcer:

(print name) (date)
(signamre)

Sigllahlre acknowledg&s receipt of inmatc(s) and all records.

Disilibution: lnstitutiona.l Inmate Filc
Retained by Releasing Facility
Requsting Instimtion - information sheet only

ocean (revised 3-03)

